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        Of Attorneys for Defendants Lively,
        Symes, Mixon, Ogletree Deakins,
        and Seymour




                              UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                       EUGENE DIVISION



 ANDREW CLARK                                                  Case No.         6:20-cv-00253-AA

                                    Plaintiff,
                                                      DECLARATION OF JOHN POLLINO
                      vs.                                IN SUPPORT OF DEFENDANTS’
                                                           OGLETREE, DEAKINS, NASH,
 WELLS FARGO BANK, OGLETREE                              SMOAK, STEWART, P.C., LEAH
 DEAKINS NASH SMOAK STEWART,                                LIVELY, DAVID P.R. SYMES,
 P.C., OREGON BAR ASSOCIATION,                      CHRISTOPHER MIXON, AND STEVEN
 LEAH C LIVELY, DAVID P.R. SYMES,                     SEYMOUR’S MOTION TO DISMISS,
 CHRISTOPHER MIXON, MICHAEL                          MOTION FOR PROTECTIVE ORDER,
 HOGAN, ALEX GARDNER, ERIK                                  AND MOTION TO DECLARE
 HASSELMAN, STEVEN SEYMOUR,                         PLAINTIFF A VEXATIOUS LITIGANT
 CHRISTIAN ROWLEY, BENJAMIN
 GUTMAN, BARRY DAVIS, DAVID
 CAMPBELL, BRUCE NEWTON,
 PETER URIAS, ELLEN ROSEBLUM,
 SABASTIAN NEWTON TAPIA, BEN
 MILLER, and VANESSA NORDYKE

                                 Defendants.

       I, John Pollino, under penalty of perjury, hereby declare as follows:

       1.       I am an attorney licensed to practice law in the state of Oregon.



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        2.       I am the attorney of record for Ogletree, Deakins, Nash, Smoak, Stewart, P.C.,

Leah Lively, David P.R. Symes, Christopher Mixon, and Steven Seymour ("Defendants Ogletree

Deakins") in Case No. 6:20-cv-00253-AA.

        3.       I make this Declaration based upon personal knowledge and am competent to

testify to all facts herein.

        4.       Attached to this Declaration as Exhibit 1 is a true and correct copy of the

Complaint in Wells Fargo Bank, N.A. v. Clark, No. 6:11-cv-06248-HO, 2012 US Dist LEXIS

145145, (D. Or. Oct. 5, 2012) (“Clark I”).

        5.       Attached to this Declaration as Exhibit 2 is a true and correct copy of the

Decision and Order Granting Respondent’s Motion for Summary Decision in the Department of

Labor Complaint filed by Plaintiff, No. 2012-SOX-00003.

        6.       Attached to this Declaration as Exhibit 3 is a true and correct copy of the Order

Granting Plaintiff’s Motion for Summary Judgment and Second Motion for Contempt against

Andrew Clark in Clark I.

        7.       Attached to this Declaration as Exhibit 4 is a true and correct copy of the Order

Awarding Attorneys’ Fees against Andrew Clark in Clark I.

        8.       Attached to this Declaration as Exhibit 5 is a true and correct copy of the

Complaint in Clark v. Wells Fargo Bank, N.A., No. 6:13-cv-01546-AA, 2014 US Dist LEXIS

90114, (D. Or. July 1, 2014) (“Clark III”).

        9.       Attached to this Declaration as Exhibit 6 is a true and correct copy of the

Memorandum in Support of Defendant’s Motion for Appointment of Guardian Ad Litem for

Plaintiff, or in the Alternative, for Dismissal in Clark III.

        10.      Attached to this Declaration as Exhibit 7 is a true and correct copy of the Opinion

and Order dismissing Plaintiff’s case in Clark III against Wells Fargo.

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       11.     Attached to this Declaration as Exhibit 8 is a true and correct copy of the

Complaint in Clark v. Hasselman, No. 6:14-cv-01103-TC, 2016 US Dist LEXIS 83076 (D. Or.

Apr. 4, 2016) (“Clark IV”).

       12.     Attached to this Declaration as Exhibit 9 is a true and correct copy of the Order

for Plaintiff to Show Cause in Clark IV.

       13.     Attached to this Declaration as Exhibit 10 is a true and correct copy of the

Findings and Recommendation issued by Magistrate Judge Thomas Coffin in Clark IV.

       14.     Attached to this Declaration as Exhibit 11 is a true and correct copy of Plaintiff’s

Response to Order to Show Cause in Clark IV, filed by Marianne Dugan, Plaintiff’s counsel.

       15.     Attached to this Declaration as Exhibit 12 is a true and correct copy of the Order

dismissing Ogletree, Deakins, Nash, Smoak & Stewart, P.C. with prejudice from Clark IV.

       16.     Attached to this Declaration as Exhibit 13 is a true and correct copy of the Ninth

Circuit’s Memorandum Opinion in Plaintiff’s appeal of the judgment against him in Clark I.

       17.     Attached to this Declaration as Exhibit 14 is a true and correct copy of the civil

docket for Clark I.

       18.     Attached to this Declaration as Exhibit 15 is a true and correct copy of the

criminal docket for Lane County Case No. 211314234, State of Oregon v. Andrew Clark.

       19.     Attached to this Declaration as Exhibit 16 is a true and correct copy of the civil

docket for Clark III.

       20.     Attached to this Declaration as Exhibit 17 is a true and correct copy of the civil

docket for Clark IV.

       21.     Attached to this Declaration as Exhibit 18 is a true and correct copy of multiple

communications from Plaintiff to various defendants in this matter from March 5, 2020, to

March 23, 2020 (attorney-client privileged communications redacted).

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           22.   Attached to this Declaration as Exhibit 19 is a true and correct copy of an email

documenting that Plaintiff sent the same April 2, 2020 fax to at least 20 different Ogletree

offices.

           23.   I certify that on April 8, 2020, I wrote to Plaintiff to confer regarding the

dismissal of Plaintiff’s complaint and to discuss the bases for the filing of the defendants’

motions. Plaintiff disputed the bases for filing defendants’ motions and thus the motions are

submitted for the Court’s consideration. True and correct copies of my communication and

Plaintiff’s responses are attached as Exhibit 20.

I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE BEST OF MY
KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE AS
EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJURY.


                                           John E Pollino




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                                  CERTIFICATE OF SERVICE

        I hereby certify that I caused to be served the foregoing Declaration of John Pollino in
Support of Defendant’s Motion to Dismiss and Declare Plaintiff a Vexatious Litigant on the
date indicated below,

        [X]     Via First-Class Mail with postage prepaid
        [X]     Via Electronic Filing
        [ ]     Via Facsimile Transmission
        [ ]     Via Hand Delivery
        [ ]     Via Overnight Delivery

to the following person(s) a true copy thereof, contained in a sealed envelope (if other than by
electronic filing notice), addressed to said person(s) at their last known addresses indicated
below:

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CERTIFICATE OF SERVICE: Clark v Wells Fargo, et al.
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     Of Attorney for Sabastian Newton Tapia



         DATED this 9th day of April, 2020.

                             GARRETT HEMANN ROBERTSON P.C.



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4813-1827-9863, v. 1




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